Case 1:12-cr-00207-JTN        ECF No. 294, PageID.2639           Filed 07/14/15      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                                    Case No. 1:12-cr-207

v.                                                          HON. JANET T. NEFF

DENNIS JAMES FORSBERG,

            Defendant.
____________________________________/


                           MEMORANDUM OPINION AND ORDER

       Defendant Dennis Forsberg has filed a motion for modification or reduction of sentence (Dkt

271) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

Sentencing Guidelines, made retroactive by the Sentencing Commission. The U.S. Probation

Department has filed a Sentence Modification Report (Dkt 283) which finds Defendant eligible.

Defendant and the Government have filed Responses (Dkts 288, 292) which agree with the

conclusion of the probation department.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
Case 1:12-cr-00207-JTN         ECF No. 294, PageID.2640           Filed 07/14/15      Page 2 of 2




       Having fully considered the Sentence Modification Report (Dkt 283) and the Responses

(Dkts 288, 292), the Court has determined that the defendant is entitled to a reduction of sentence

pursuant to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 271) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED.




DATED: July 14, 2015                                  /s/ Janet T. Neff
                                                     JANET T. NEFF
                                                     United States District Judge




                                                2
